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            IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                      OFFICE OF SPECIAL MASTERS
                                              No. 14-410V
                                          Filed: April 8, 2015
                                         (Not to be published)

*************************
JOHN CIPRUS,                            *
                                        *
                    Petitioner,         *      Stipulation; Attorneys’ Fees & Costs
      v.                                *
                                        *
SECRETARY OF HEALTH                     *
AND HUMAN SERVICES,                     *
                                        *
                    Respondent.         *
****************************
Edward M. Kraus, Esq., Law Offices of Chicago Kent, Chicago, IL for petitioner.
Lisa Watts, Esq., U.S. Department of Justice, Washington, DC for respondent.

                        DECISION ON ATTORNEY FEES AND COSTS 1

Gowen, Special Master:

        In this case under the National Vaccine Injury Compensation Program, 2 I issued
a Decision on April 8, 2015, adopting the parties’ stipulation for award. Additionally, on
April 8, 2015, the parties filed a Stipulation of Fact concerning attorneys’ fees and costs.
Pursuant to General Order #9, the parties represented that petitioner has not personally
incurred any litigation costs in this matter.

       The parties’ stipulation indicates that respondent does not object to the amended
amount of $14,257.50 that petitioner is requesting for attorneys’ fees and $2,626.34 in
attorneys’ cost, for a total amount of $16,883.84.

      I find that this petition was brought in good faith and that there existed a
reasonable basis for the claim. Therefore, an award for fees and costs is appropriate,
pursuant to 42 U.S.C. §§ 300aa-15(b) and (e)(1). Further, the proposed amount seems

1 Because this unpublished decision contains a reasoned explanation for the action in this case, I intend

to post this decision on the United States Court of Federal Claims' website, in accordance with the E-
Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44
U.S.C. § 3501 note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and
move to delete medical or other information, the disclosure of which would constitute an unwarranted
invasion of privacy. If, upon review, I agree that the identified material fits within this definition, I will
delete such material from public access.

2
  The applicable statutory provisions defining the program are found at 42 U.S.C. § 300aa-10 et seq.
(2006).
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reasonable and appropriate. Accordingly, I hereby award:

            •   a lump sum of $16,883.84 in the form of a check payable jointly to
                petitioner and petitioner’s attorney, Edward Kraus, Esq., for
                petitioner’s attorneys’ fees and costs.

        The clerk of the court shall enter judgment in accordance herewith. 3


IT IS SO ORDERED.
                                                 s/Thomas L. Gowen
                                                 Thomas L. Gowen
                                                 Special Master




3Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to seek review.
See Vaccine Rule 11(a).
